Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 1 of 42 Page ID #:4156



     1
                                                                     1/26/2024
     2
                                                                       pk
     3

     4

     5

     6

     7

     8                       UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
    10

    11   JEFFREY B. SEDLIK,
    12                   Plaintiff,              2:21-cv-01102-DSF-MRW
    13   v.
                                                 JURY INSTRUCTIONS
    14   KATHERINE VON DRACHENBERG
         aka KAT VON D, et al.,
    15
                         Defendants.
    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                           1
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 2 of 42 Page ID #:4157



     1                                    INSTRUCTION NO. 1
     2

     3           Members of the Jury: Now that you have heard all of the evidence and the
     4   arguments of the attorneys, it is my duty to instruct you on the law that applies to this
     5   case.
     6           A copy of these instructions will be sent to the jury room for you to consult
     7   during your deliberations.
     8           It is your duty to find the facts from all the evidence in the case. To those facts
     9   you will apply the law as I give it to you. You must follow the law as I give it to you
    10   whether you agree with it or not. And you must not be influenced by any personal
    11   likes or dislikes, opinions, prejudices, or sympathy. That means that you must decide
    12   the case solely on the evidence before you. You will recall that you took an oath to do
    13   so.
    14           Please do not read into these instructions or anything that I may say or do or
    15   have said or done that I have an opinion regarding the evidence or what your verdict
    16   should be.
    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                   2
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 3 of 42 Page ID #:4158



     1                                  INSTRUCTION NO. 2
     2

     3         When a party has the burden of proving any claim or affirmative defense by a
     4   preponderance of the evidence, it means you must be persuaded by the evidence that
     5   the claim or affirmative defense is more probably true than not true.
     6         You should base your decision on all of the evidence, regardless of which party
     7   presented it.
     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                 3
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 4 of 42 Page ID #:4159



     1                                    INSTRUCTION NO. 3
     2

     3         You should decide the case as to each defendant separately. Unless otherwise
     4   stated, the instructions apply to all parties.
     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                    4
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 5 of 42 Page ID #:4160



     1                                 INSTRUCTION NO. 4
     2

     3        The evidence you are to consider in deciding what the facts are consists of:
     4        1. the sworn testimony of any witness;
     5        2. the exhibits that are admitted into evidence.
     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                5
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 6 of 42 Page ID #:4161



     1                                   INSTRUCTION NO. 5
     2

     3         In reaching your verdict, you may consider only the testimony and exhibits
     4   received into evidence. Certain things are not evidence, and you may not consider
     5   them in deciding what the facts are. I will list them for you:
     6         (1) Arguments and statements by lawyers are not evidence. The lawyers are not
     7   witnesses. What they have said in their opening statements and at other times, and
     8   will say in their closing arguments is intended to help you interpret the evidence, but
     9   it is not evidence. If the facts as you remember them differ from the way the lawyers
    10   have stated them, your memory of them controls.
    11         (2) Questions and objections by lawyers are not evidence. Attorneys have a
    12   duty to their clients to object when they believe a question is improper under the rules
    13   of evidence. You should not be influenced by the objection or by the court’s ruling on
    14   it.
    15         (3) Testimony that is excluded or stricken, or that you have been instructed to
    16   disregard, is not evidence and must not be considered.
    17         (4) Anything you may have seen or heard when the court was not in session is
    18   not evidence. You are to decide the case solely on the evidence received at the trial.
    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                  6
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 7 of 42 Page ID #:4162



     1                                  INSTRUCTION NO. 6
     2

     3         Evidence may be direct or circumstantial. Direct evidence is direct proof of a
     4   fact, such as testimony by a witness about what that witness personally saw or heard
     5   or did. Circumstantial evidence is proof of one or more facts from which you could
     6   find another fact. You should consider both kinds of evidence. The law makes no
     7   distinction between the weight to be given to either direct or circumstantial evidence.
     8   It is for you to decide how much weight to give to any evidence.
     9         By way of example, if you wake up in the morning and see that the sidewalk is
    10   wet, you may find from that fact that it rained during the night. However, other
    11   evidence, such as a garden hose that was left turned on, may provide a different
    12   explanation for the presence of water on the sidewalk. Therefore, before you decide
    13   that a fact has been proved by circumstantial evidence, you must consider all the
    14   evidence in light of reason, experience, and common sense.
    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                                 7
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 8 of 42 Page ID #:4163



     1                                     INSTRUCTION NO. 7
     2

     3          In deciding the facts in this case, you may have to decide which testimony to
     4   believe and which testimony not to believe. You may believe everything a witness
     5   says, or part of it, or none of it.
     6          In considering the testimony of any witness, you may take into account:
     7          (1) the opportunity and ability of the witness to see or hear or know the things
     8   testified to;
     9          (2) the witness’s memory;
    10          (3) the witness’s manner while testifying;
    11          (4) the witness’s interest in the outcome of the case, if any;
    12          (5) the witness’s bias or prejudice, if any;
    13          (6) whether other evidence contradicted the witness’s testimony;
    14          (7) the reasonableness of the witness’s testimony in light of all the evidence;
    15   and
    16          (8) any other factors that bear on believability.
    17          Sometimes a witness may say something that is not consistent with something
    18   else he or she said. Sometimes different witnesses will give different versions of what
    19   happened. People often forget things or make mistakes in what they remember. Also,
    20   two people may see the same event but remember it differently. You may consider
    21   these differences, but do not decide that testimony is untrue just because it differs
    22   from other testimony.
    23          However, if you decide that a witness has deliberately testified untruthfully
    24   about something important, you may choose not to believe anything that witness said.
    25   On the other hand, if you think the witness testified untruthfully about some things
    26   but told the truth about others, you may accept the part you think is true and ignore
    27   the rest.
    28          The weight of the evidence as to a fact does not necessarily depend on the


                                                   8
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 9 of 42 Page ID #:4164



     1   number of witnesses who testify. What is important is how believable the witnesses
     2   were, and how much weight you think their testimony deserves.
     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28



                                               9
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 10 of 42 Page ID
                                 #:4165


  1                                   INSTRUCTION NO. 8
  2

  3          A deposition is the sworn testimony of a witness taken before trial. The witness
  4    is placed under oath to tell the truth and lawyers for each party may ask questions.
  5    The questions and answers are recorded.
  6          The deposition of Jeffrey B. Sedlik was taken on January 11, 2022, and the
  7    deposition of Katherine Von Drachenberg was taken on January 18, 2022. The
  8    deposition of Brian Vanegas was taken on July 31, 2023. Insofar as possible, you
  9    should consider deposition testimony, presented to you in court in lieu of live
  10   testimony, in the same way as if the witness had been present to testify.
  11         Do not place any significance on the behavior or tone of voice of any person
  12   reading the questions or answers.
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              10
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 11 of 42 Page ID
                                 #:4166


  1                                    INSTRUCTION NO. 9
  2

  3          Those exhibits received in evidence that are capable of being displayed
  4    electronically will be provided to you in that form, and you will be able to view them
  5    in the jury room. A computer, projector, printer, and accessory equipment will be
  6    available to you in the jury room.
  7          A court technician will show you how to operate the computer and other
  8    equipment; how to locate and view the exhibits on the computer; and how to print the
  9    exhibits. You will also be provided with a paper list of all exhibits received in
  10   evidence. You may request a paper copy of any exhibit received in evidence by
  11   sending a note through the bailiff. If you need additional equipment or supplies or if
  12   you have questions about how to operate the computer or other equipment, you may
  13   send a note to the bailiff, signed by your foreperson or by one or more members of the
  14   jury. Do not refer to or discuss any exhibit you were attempting to view.
  15         If a technical problem or question requires hands-on maintenance or
  16   instruction, a court technician may enter the jury room with the bailiff present for the
  17   sole purpose of assuring that the only matter that is discussed is the technical
  18   problem. When the court technician or any non-juror is in the jury room, the jury shall
  19   not deliberate. No juror may say anything to the court technician or any non-juror
  20   other than to describe the technical problem or to seek information about operation of
  21   the equipment. Do not discuss any exhibit or any aspect of the case.
  22         The sole purpose of providing the computer in the jury room is to enable jurors
  23   to view the exhibits received in evidence in this case. You may not use the computer
  24   for any other purpose. At my direction, technicians have taken steps to ensure that the
  25   computer does not permit access to the Internet or to any “outside” website, database,
  26   directory, game, or other material. Do not attempt to alter the computer to obtain
  27   access to such materials. If you discover that the computer provides or allows access
  28   to such materials, you must inform the court immediately and refrain from viewing


                                               11
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 12 of 42 Page ID
                                 #:4167


  1    such materials. Do not remove the computer or any electronic data from the jury
  2    room, and do not copy any such data.
  3

  4

  5

  6

  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              12
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 13 of 42 Page ID
                                 #:4168


  1                                  INSTRUCTION NO. 10
  2

  3          All parties are equal before the law and a corporation is entitled to the same fair
  4    and conscientious consideration by you as any party.
  5

  6

  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              13
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 14 of 42 Page ID
                                 #:4169


  1                                   INSTRUCTION NO. 11
  2

  3          Under the law, a corporation is considered to be a person. It can only act
  4    through its employees, agents, directors, or officers. Therefore, a corporation is
  5    responsible for the acts of its employees, agents, directors, and officers performed
  6    within the scope of their authority.
  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               14
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 15 of 42 Page ID
                                 #:4170


  1                                   INSTRUCTION NO. 12
  2

  3           The plaintiff, Jeffrey B. Sedlik, claims ownership of a copyright and seeks
  4    damages from the defendants, Katherine Von Drachenberg and High Voltage Tattoo,
  5    Inc., for copyright infringement. The defendants deny infringing the copyright, and
  6    assert the affirmative defense that they made fair use of the work. To help you
  7    understand the evidence, I will explain some of the legal terms you will hear during
  8    this trial.
  9                               DEFINITION OF COPYRIGHT
  10          The owner of a copyright has the right to exclude any other person from
  11   reproducing, distributing, performing, displaying or preparing derivative works from
  12   the work covered by copyright for a specific period of time.
  13          A copyrighted work can be a literary work, musical work, dramatic work,
  14   pantomime, choreographic work, pictorial work, graphic work, sculptural work,
  15   motion picture, audiovisual work, sound recording, architectural work, or computer
  16   program.
  17          Facts, ideas, procedures, processes, systems, methods of operation, concepts,
  18   principles, or discoveries cannot themselves be copyrighted.
  19          The copyrighted work must be original. An original work that closely
  20   resembles other works can be copyrighted so long as the similarity between the two
  21   works is not the result of copying.
  22                           PLAINTIFF’S BURDEN OF PROOF
  23          In this case, the plaintiff contends that defendants Katherine Von Drachenberg
  24   and High Voltage Tattoo, Inc. have infringed the plaintiff’s copyright. The plaintiff
  25   has the burden of proving by a preponderance of the evidence that he is the owner of
  26   the copyright and that the defendants copied original expression from the copyrighted
  27   works. Preponderance of the evidence means that you must be persuaded by the
  28   evidence that it is more probably true than not true that the copyrighted work was


                                              15
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 16 of 42 Page ID
                                 #:4171


  1    infringed.
  2            The plaintiff must also prove that the defendants’ use of the copyrighted work
  3    was substantial. In determining whether the defendant’s use of the copyrighted work
  4    was substantial, you may consider how important the copied portion was to the
  5    copyrighted work as a whole.
  6                                     PROOF OF COPYING
  7            To prove that the defendants copied the plaintiff’s work, the plaintiff may show
  8    that the defendants had access to the plaintiff’s copyrighted work and that there are
  9    substantial similarities between the defendants’ work and the plaintiff’s copyrighted
  10   work.
  11                             LIABILITY FOR INFRINGEMENT
  12           One who reproduces, prepares derivative works from, publicly displays, or
  13   publicly distributes a copyrighted work without authority from the copyright owner
  14   during the term of the copyright, infringes the copyright.
  15

  16                             DEFENSES TO INFRINGEMENT
  17           The defendants contend (1) that they did not copy protectible elements in the
  18   copyrighted work and (2) there is no copyright infringement because the defendants
  19   made fair use of the work.
  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               16
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 17 of 42 Page ID
                                 #:4172


  1                                   INSTRUCTION NO. 13
  2

  3          Copyright is the exclusive right to copy. This right to copy includes the
  4    exclusive rights to:
  5          (1) reproduce the copyrighted work in copies;
  6          (2) recast, transform, or adapt the work, that is prepare derivative works based
  7    on the copyrighted work;
  8          (3) distribute copies of the copyrighted work to the public by sale or other
  9    transfer of ownership; and
  10         (4) display publicly a copyrighted graphic work.
  11         It is the owner of a copyright who may exercise these exclusive rights. In
  12   general, copyright law protects against reproduction, adaptation, public distribution,
  13   and public display of identical or substantially similar copies of the owner’s
  14   copyrighted work without the owner’s permission. An owner may enforce these rights
  15   to exclude others in an action for copyright infringement.
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               17
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 18 of 42 Page ID
                                 #:4173


  1                                   INSTRUCTION NO. 14
  2

  3          The work involved in this trial, the Miles Davis Photograph, is a pictorial work
  4    that can be protected by copyright law.
  5          Only that part of the work comprised of original works of authorship fixed in
  6    any tangible medium of expression from which it can be perceived, reproduced, or
  7    otherwise communicated, either directly or with the aid of a machine or device, is
  8    protected by the Copyright Act.
  9          Copyright protection for an original work of authorship does not extend to any
  10   idea, concept or principle, regardless of the form in which it is described, explained,
  11   illustrated, or embodied.
  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                 18
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 19 of 42 Page ID
                                 #:4174


  1                                  INSTRUCTION NO. 15
  2

  3          Copyright law allows the author of an original work to stop others from
  4    copying the original expression in the author’s work. Only the particular expression
  5    of an idea can be copyrighted and protected. Copyright law does not give the author
  6    the right to prevent others from copying or using the underlying ideas contained in the
  7    work, such as any procedures, processes, systems, methods of operation, concepts,
  8    principles or discoveries. In order to protect any ideas in the work from being copied,
  9    the author must secure some other form of legal protection because ideas cannot be
  10   copyrighted.
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              19
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 20 of 42 Page ID
                                 #:4175


  1                                   INSTRUCTION NO. 16
  2

  3          Anyone who copies original expression from a copyrighted work during the
  4    term of the copyright without the owner’s permission infringes the copyright.
  5          Plaintiff is the owner of a valid copyright in the Miles Davis Photograph. For
  6    each of plaintiff’s copyright infringement claims, the plaintiff has the burden of
  7    proving by a preponderance of the evidence that the defendants copied original
  8    expression from the copyrighted work.
  9          If you find that the plaintiff has proved this, your verdict should be for the
  10   plaintiff unless you find that plaintiff’s claim is barred by an affirmative defense,
  11   which I will discuss later.
  12         If, on the other hand, you find that the plaintiff has failed to prove that the
  13   defendants copied original expression from the copyrighted work, your verdict should
  14   be for the defendants.
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               20
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 21 of 42 Page ID
                                 #:4176


  1                                    INSTRUCTION NO. 17
  2

  3          A copyright owner is entitled to exclude others from creating derivative works
  4    based on the owner’s copyrighted work. The term derivative work refers to a work
  5    based on one or more pre-existing works, such as an art reproduction or any other
  6    form in which the pre-existing work is recast, transformed, or adapted. The owner of
  7    a copyrighted work is entitled to exclude others from recasting, transforming, or
  8    adapting the copyrighted work without the owner’s permission, unless the derivative
  9    work is itself found to be a fair use.
  10         The copyright owner of the pre-existing work may enforce the right to exclude
  11   others in an action for copyright infringement to the extent that the material copied
  12   derived from the pre-existing work.
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                21
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 22 of 42 Page ID
                                 #:4177


  1                                    INSTRUCTION NO. 18
  2

  3          The plaintiff may show the defendants copied from the work by proving by a
  4    preponderance of the evidence that the defendants had access to the plaintiff’s
  5    copyrighted work and that there are substantial similarities between the defendants’
  6    work and original elements of the plaintiff’s work.
  7          There is no dispute that Defendants had access to Plaintiff’s copyrighted work.
  8    If you find that the plaintiff has failed to prove substantial similarities between the
  9    defendants’ work and original elements of the plaintiff’s work, your verdict should be
  10   for the defendants.
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                22
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 23 of 42 Page ID
                                 #:4178


  1                                   INSTRUCTION NO. 19
  2

  3          In order to establish copyright infringement, plaintiff must prove by a
  4    preponderance of the evidence that the defendant’s work is substantially similar to
  5    what is protected by copyright law in the plaintiff’s work.
  6          Substantial similarity is determined by an extrinsic and intrinsic test, and the
  7    plaintiff must satisfy both tests to meet his burden.
  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               23
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 24 of 42 Page ID
                                 #:4179


  1                                    INSTRUCTION NO. 20
  2

  3          For the extrinsic test, you are to examine the similarities between what is
  4    protected by copyright law in the Miles Davis Photograph, on the one hand, with each
  5    of the accused infringements, on the other hand.
  6          Photographs can be broken down into elements that reflect the various creative
  7    choices the photographer made in composing the image. These creative choices are
  8    elements such as the photograph’s subject matter, pose, lighting, camera angle, depth
  9    of field, and almost every other variant involved in the works.
  10         The individual elements standing alone are not copyrightable. But if
  11   sufficiently original, the combination of subject matter, pose, camera angle, etc.,
  12   receives protection as original expression. It is the plaintiff’s burden to identify the
  13   particular combination, selection, or arrangement of elements in his photograph that
  14   he claims is protected by copyright law. He must show that each of the accused
  15   infringements is substantially similar to this particular combination, selection, or
  16   arrangement.
  17         If there is no substantial similarity at this first step, then the plaintiff has not
  18   met his burden.
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                 24
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 25 of 42 Page ID
                                 #:4180


  1                                   INSTRUCTION NO. 21
  2

  3          The intrinsic test is a holistic comparison that focuses on whether the works are
  4    substantially similar in the total concept and feel of the works.
  5

  6

  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               25
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 26 of 42 Page ID
                                 #:4181


  1                                    INSTRUCTION NO. 22
  2

  3            One who is not the owner of the copyright may use the copyrighted work in a
  4    reasonable way under the circumstances without the consent of the copyright owner if
  5    it would advance the public interest. Such use of a copyrighted work is called a fair
  6    use. The owner of a copyright cannot prevent others from making a fair use of the
  7    owner’s copyrighted work.
  8            Defendants contend that they made fair use of the Miles Davis Photograph.
  9    Defendants have the burden of proving this defense by a preponderance of the
  10   evidence.
  11           In determining whether the use made of the work was fair, you should consider
  12   the following factors:
  13           (1) the purpose and character of the use, including whether the use is of a
  14   commercial nature or is for nonprofit educational purposes;
  15           (2) the nature of the copyrighted work;
  16           (3) the amount and substantiality of the portion used in relation to the
  17   copyrighted work as a whole;
  18           (4) the effect of the use on the potential market for or value of the copyrighted
  19   work.
  20           If you find that the defendants have proved by a preponderance of the evidence
  21   that the defendants made fair use of the plaintiff’s work, your verdict should be for
  22   the defendants as to that particular use.
  23

  24

  25

  26

  27

  28



                                                   26
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 27 of 42 Page ID
                                 #:4182


  1                                   INSTRUCTION NO. 23
  2

  3          The first fair use factor concerns the purpose and character of the accused use.
  4    It considers whether the use of a copyrighted work has a further purpose or different
  5    character, which is a matter of degree, and the degree of difference must be balanced
  6    against other considerations like commercialism.
  7          If an original work and a secondary use share the same or highly similar
  8    purposes, and the secondary use is of a commercial nature, the first factor is likely to
  9    weigh against fair use.
  10         The fair use analysis, and the first factor in particular, requires an analysis of
  11   each specific use of a copyrighted work that is alleged to be an infringement. The
  12   same copying may be fair when used for one purpose but not another.
  13         A work that has a different purpose is said to be “transformative.” But to be
  14   transformative, the secondary work must have a purpose that goes beyond that
  15   required to qualify as a derivative work. For example, criticism, comment, news
  16   reporting, teaching (including multiple copies for classroom use), scholarship, and
  17   research are all different purposes. The crux of the profit/nonprofit distinction is not
  18   whether the sole motive of the use is monetary gain but whether the user stands to
  19   gain a benefit or advantage from exploitation of the copyrighted material without
  20   paying the customary price.
  21         The court has already determined that the tattoo is not transformative, meaning
  22   that it does not imbue the copyrighted work with a new purpose beyond recasting the
  23   copyrighted work in a new visual medium, like turning a painting into a sculpture.
  24   You must decide whether the tattoo is of a commercial nature. If you find that it is,
  25   the first factor should weigh against fair use.
  26         For each social media post, you must determine whether the post has a further
  27   purpose or different character than the copyrighted work. You must then determine
  28   whether each social media post is of a commercial nature. Then you must balance the


                                                27
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 28 of 42 Page ID
                                 #:4183


  1    degree of difference against the commercial nature, if any, of the post.
  2

  3

  4

  5

  6

  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               28
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 29 of 42 Page ID
                                 #:4184


  1                                   INSTRUCTION NO. 24
  2

  3           The second fair use factor is the nature of the copyrighted work. Copyrighted
  4    works that are creative in nature are more protected. It is agreed that the Miles Davis
  5    Photo is creative in nature, and therefore this factor is more likely to weigh against
  6    fair use.
  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               29
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 30 of 42 Page ID
                                 #:4185


  1                                   INSTRUCTION NO. 25
  2

  3          The third fair use factor is the amount and substantiality of the portion used in
  4    relationship to the copyrighted work as a whole. This factor looks to the amount of
  5    the original work used and the importance of the portion copied.
  6          When an accused work copies little of the original work, this factor weighs in
  7    favor of fair use. When an accused work copies most of the original work or its most
  8    important parts, then this factor more likely weighs against fair use. If the secondary
  9    user copies only as much as is necessary for a transformative use, then this factor will
  10   not weigh against fair use.
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               30
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 31 of 42 Page ID
                                 #:4186


  1                                   INSTRUCTION NO. 26
  2

  3          The fourth fair use factor is the effect of the accused infringer’s use on the
  4    potential market for or value of the copyrighted work. This is the single most
  5    important factor, but it must be weighed with all other factors and is not necessarily
  6    dispositive. It weighs against fair use if the accused use materially impairs the
  7    marketability or value of the copyrighted work. In connection with the fourth factor,
  8    the term “potential market for or value of” refers to the value of the entire copyrighted
  9    work itself and licensing opportunities for the copyrighted work via derivative works
  10   in traditional, reasonable, or likely to be developed markets.
  11         A derivative work, as I explained earlier, is a work based on one or more
  12   preexisting copyrighted works, such as a musical arrangement, dramatization, or art
  13   reproduction based on a book, to name only three specifics, or any other form in
  14   which a work may be recast, transformed or adapted.
  15         Defendants have the burden of bringing forward favorable evidence about
  16   relevant markets. To negate fair use, plaintiff need only show that if the copying
  17   should become widespread, it would hurt the potential market for the copyrighted
  18   work or its derivatives.
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               31
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 32 of 42 Page ID
                                 #:4187


  1                                       INSTRUCTION NO. 27
  2

  3          It is up to you to decide whether all relevant factors, when considered fully and
  4    together, favor or disfavor fair use. All of these factors must be explored, discussed,
  5    and evaluated by you. No single factor is dispositive. Your evaluation of all factors
  6    must be weighed together in light of the purpose of copyright law, which is to
  7    promote the progress of science and useful arts. Some factors may weigh in favor of
  8    fair use and some against fair use. You must decide, after giving the factors such
  9    weight as you find appropriate based on the evidence and my instructions, whether or
  10   not, on balance, the defendants have shown by a preponderance of the evidence that
  11   they made a fair use. If you find that the defendants have proved by a preponderance
  12   of the evidence that the defendants made a fair use of plaintiff’s work, then your
  13   verdict on the copyright infringement claim should be for the defendants on the
  14   particular alleged infringement.
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               32
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 33 of 42 Page ID
                                 #:4188


  1                                  INSTRUCTION NO. 28
  2

  3          It is the duty of the Court to instruct you about the measure of damages. By
  4    instructing you on damages, the Court does not mean to suggest for which party your
  5    verdict should be rendered.
  6          If you find for the plaintiff, you must determine the plaintiff’s damages. The
  7    plaintiff has the burden of proving damages by a preponderance of the evidence.
  8          It is for you to determine what damages, if any, have been proved.
  9          Your award must be based on evidence and not upon speculation, guesswork,
  10   or conjecture.
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              33
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 34 of 42 Page ID
                                 #:4189


  1                                   INSTRUCTION NO. 29
  2

  3          The copyright owner is entitled to recover hypothetical license damages - that
  4    is, the amount a willing licensor would have been reasonably required to pay a willing
  5    licensee at the time of the infringement for the actual use made by the infringer of the
  6    copyright owner’s work. The amount is not what the licensor would have charged,
  7    but what a willing licensor would have charged after negotiation, that is the fair
  8    market value of the license for that particular use.
  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               34
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 35 of 42 Page ID
                                 #:4190


  1                                   INSTRUCTION NO. 30
  2

  3          If you find for the plaintiff on the copyright infringement claim, you must
  4    determine the plaintiff’s damages. The plaintiff seeks a statutory damage award,
  5    established by Congress for the work infringed. Its purpose is not only to compensate
  6    the plaintiff for his losses, which may be hard to prove, but also to penalize the
  7    infringer and deter future violations of the copyright laws.
  8          The amount you may award as statutory damages is not less than $750, or more
  9    than $30,000.
  10         If you find the infringement was innocent, you may award as little as $200.
  11         However, if you find the infringement was willful, you may award as much as
  12   $150,000.
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               35
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 36 of 42 Page ID
                                 #:4191


  1                                     INSTRUCTION NO. 31
  2

  3          An infringement is considered innocent when the defendant has proved both of
  4    the following elements by a preponderance of the evidence:
  5          1. the defendant was not aware that her or its acts constituted infringement of
  6    the copyright; and
  7          2. the defendant had no reason to believe that her or its acts constituted an
  8    infringement of the copyright.
  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                              36
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 37 of 42 Page ID
                                 #:4192


  1                                   INSTRUCTION NO. 32
  2

  3          An infringement is considered willful when the plaintiff has proved both of the
  4    following elements by a preponderance of the evidence:
  5          1. the defendants engaged in acts that infringed the copyright; and
  6          2. the defendants knew that those acts infringed the copyright, or the
  7    defendants acted with reckless disregard for, or willful blindness to, the copyright
  8    holder’s rights
  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               37
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 38 of 42 Page ID
                                 #:4193


  1                                   INSTRUCTION NO. 33
  2

  3          Before you begin your deliberations, elect one member of the jury as your
  4    presiding juror. The presiding juror will preside over the deliberations and serve as
  5    the spokesperson for the jury in court.
  6          You shall diligently strive to reach agreement with all of the other jurors if you
  7    can do so. Your verdict must be unanimous.
  8          Each of you must decide the case for yourself, but you should do so only after
  9    you have considered all of the evidence, discussed it fully with the other jurors, and
  10   listened to their views.
  11         It is important that you attempt to reach a unanimous verdict but, of course,
  12   only if each of you can do so after having made your own conscientious decision. Do
  13   not be unwilling to change your opinion if the discussion persuades you that you
  14   should. But do not come to a decision simply because other jurors think it is right or
  15   change an honest belief about the weight and effect of the evidence simply to reach a
  16   verdict.
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                 38
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 39 of 42 Page ID
                                 #:4194


  1                                   INSTRUCTION NO. 34
  2

  3          Because you must base your verdict only on the evidence received in the case
  4    and on these instructions, I remind you that you must not be exposed to any other
  5    information about the case or to the issues it involves. Except for discussing the case
  6    with your fellow jurors during your deliberations:
  7          Do not communicate with anyone in any way and do not let anyone else
  8    communicate with you in any way about the merits of the case or anything to do with
  9    it. This includes discussing the case in person, in writing, by phone or electronic
  10   means, via email, via text messaging, or any Internet chat room, blog, website or
  11   application, including but not limited to Facebook, YouTube, Twitter, Instagram,
  12   LinkedIn, Snapchat, or any other forms of social media. This applies to
  13   communicating with your family members, your employer, the media or press, and
  14   the people involved in the trial. If you are asked or approached in any way about your
  15   jury service or anything about this case, you must respond that you have been ordered
  16   not to discuss the matter and to report the contact to the court.
  17         Do not read, watch, or listen to any news or media accounts or commentary
  18   about the case or anything to do with it; do not do any research, such as consulting
  19   dictionaries, searching the Internet, or using other reference materials; and do not
  20   make any investigation or in any other way try to learn about the case on your own.
  21   Do not visit or view any place discussed in this case, and do not use Internet programs
  22   or other devices to search for or view any place discussed during the trial. Also, do
  23   not do any research about this case, the law, or the people involved—including the
  24   parties, the witnesses or the lawyers—until you have been excused as jurors. If you
  25   happen to read or hear anything touching on this case in the media, turn away and
  26   report it to me as soon as possible.
  27         These rules protect each party’s right to have this case decided only on
  28   evidence that has been presented here in court. Witnesses here in court take an oath to


                                                39
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 40 of 42 Page ID
                                 #:4195


  1    tell the truth, and the accuracy of their testimony is tested through the trial process. If
  2    you do any research or investigation outside the courtroom, or gain any information
  3    through improper communications, then your verdict may be influenced by
  4    inaccurate, incomplete or misleading information that has not been tested by the trial
  5    process. Each of the parties is entitled to a fair trial by an impartial jury, and if you
  6    decide the case based on information not presented in court, you will have denied the
  7    parties a fair trial. Remember, you have taken an oath to follow the rules, and it is
  8    very important that you follow these rules.
  9          A juror who violates these restrictions jeopardizes the fairness of these
  10   proceedings and a mistrial could result that would require the entire trial process to
  11   start over. If any juror is exposed to outside information, you must notify the court
  12   immediately.
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                 40
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 41 of 42 Page ID
                                 #:4196


  1                                   INSTRUCTION NO. 35
  2

  3          If it becomes necessary during your deliberations to communicate with me, you
  4    may send a note through the bailiff, signed by any one or more of you. No member of
  5    the jury should ever attempt to communicate with me except by a signed writing. I
  6    will not communicate with any member of the jury on anything concerning the case
  7    except in writing or here in open court. If you send out a question, I will consult with
  8    the lawyers before answering it, which may take some time. You may continue your
  9    deliberations while waiting for the answer to any question. Remember that you are
  10   not to tell anyone—including me—how the jury stands, whether in terms of vote
  11   count or otherwise, until after you have reached a unanimous verdict or have been
  12   discharged.
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                               41
Case 2:21-cv-01102-DSF-MRW Document 219 Filed 01/26/24 Page 42 of 42 Page ID
                                 #:4197


  1                                   INSTRUCTION NO. 36
  2

  3          A verdict form has been prepared for you. After you have reached unanimous
  4    agreement on a verdict, your foreperson should complete the verdict form according
  5    to your deliberations, sign and date it, and advise the bailiff that you are ready to
  6    return to the courtroom.
  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28



                                                42
